Case 2:10-md-02179-CJB-DPC Document 3430-1 Filed 07/25/11 Page 1 of {O-2180

Exhibit "A"
257298 Kim Duong (257298) Bayou La Batre AL
257316 Lucy Simon (257316) Bayou La Batre AL
257317 Tuyet Nguyen (257317) Bayou La Batre AL
262491 Jacklyn Phengsisombotn (262491) Grand Bay AL
262632 Hung Neuyen (262632) Bayou La Batre AL
262659 Roderick Simons (262659) Bayou La Batre AL
263152 Hen Lam (263152) - Bayou La Batre AL
266029 Leha Tran (266029) Bayou La Batre AL
266413 Thang Lam (266413) Grand Bay AL
269117 Tri Duong (269117) Bayou La Batre AL
269122 Duong Doan (269122) Bayou La Batre AL

